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                        1    MILLER NASH LLP
                             Kyle D. Sciuchetti, Admitted Pro Hac Vice
                        2       kyle.s@millernash.com
                             Bernard Kornberg, CSB No. 252006
                        3      Bernie.kornberg@millernash.com
                             Benjamin P. Tarczy, CSB No. 308367
                        4       benjamin.tarczy@millernash.com
                             1140 SW Washington St, Ste 700
                        5    Portland, Oregon 97204
                             Telephone: 503.224.5858
                        6    Facsimile:    503.224.0155

                        7    MCCORMICK, BARSTOW, SHEPPARD,
                             WAYTE & CARRUTH LLP
                        8    Hagop T. Bedoyan, CSB No. 131285
                             7647 North Fresno Street
                        9    Fresno, California 93720
                             Telephone:     559.433.1300
                    10       Facsimile:     559.433.2300

                    11
                             Attorneys for IRZ Consulting, LLC and Lindsay
                    12       Corporation

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                                                      UNITED STATES BANKRUPTCY COURT
                    14
                                                       EASTERN DISTRICT OF CALIFORNIA
                    15
                                                                 FRESNO DIVISION
                    16
                            In re                                        Bankruptcy Case No. 18-11651-A-11
                    17
                             GREGORY JOHN TE VELDE,                      Chapter 11
                    18
                             Debtor.                                     Adv. Pro. No. 19-01033-B
                    19
                                                                         DC No. MNG-5
                    20       RANDY SUGARMAN, CHAPTER 11
                             TRUSTEE,                                    DEFENDANTS’ RENEWED MOTION FOR
                    21                                                   SUMMARY JUDGMENT AS TO
                             Plaintiff,                                  PLAINTIFF’S FIRST AMENDED
                    22                                                   COMPLAINT, OR IN THE ALTERNATIVE,
                             v.                                          FOR PARTIAL SUMMARY JUDGMENT
                    23
                             IRZ CONSULTING, LLC et al.;                     Hearing Date:   July 16, 2025
                    24                                                       Time:           11:00 a.m.
                             Defendants.                                     Place:          Dept. B, Ctr. 13, 5th Fl.
                    25                                                                       U.S. Bankruptcy Court
                                                                                             2500 Tulare Street
                    26       AND RELATED CROSS-ACTIONS                                       Fresno, CA
                                                                             Judge:          Hon. Rene Lastreto
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  M ILLER N ASH LLP
   ATTO RNEY S AT LAW
       POR TLA ND
                                                                         -1-                              DEFENDANTS’ MOTION FOR
                                                                                                              SUMMARY JUDGMENT

                                                                                                              4906-7982-3386.1
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                        1           Defendants IRZ Consulting, LLC, aka IRZ Construction Division, LLC (“IRZ”) and

                        2   Lindsay Corporation (“Lindsay Corp.”) (and collectively, “Defendants”) hereby, pursuant to

                        3   Federal Rule of Civil Procedure 56, as incorporated by Federal Rule of Bankruptcy Procedure

                        4   7056, move for partial summary judgment as to the claims raised in the first amended complaint

                        5   (the “FAC”) of plaintiff Randy Sugarman, Liquidating Trustee (“Trustee”) of the estate of

                        6   Gregory John Te Velde (“Debtor”). 1 In the alternative, Defendants requests that if the Court does

                        7   not grant summary judgment in its entirety, that the Court, pursuant to Federal Rule of Civil

                        8   Procedure 56(g), enter an order setting forth each material fact that is not genuinely in dispute and

                        9   treating the fact as established in the case.

                    10              The factual and legal grounds for summary judgment as are follows:

                    11              The Court should grant summary judgment on the first cause of action for Objection to

                    12      Claim as IRZ has filed a proof of claim in compliance with the Bankruptcy Code and Federal

                    13      Rules of Bankruptcy Procedure, and thus is entitled to prima facie validity under Federal Rule of

                    14      Bankruptcy Procedure 3001(f). Trustee has failed to set forth facts rebutting this prima facie

                    15      validity. The sole disputed issue is whether IRZ was licensed as a contractor during the operative

                    16      time period and thus entitled to file a claim under ORS 701.131(1). The undisputed facts show

                    17      that for all work performed for which payment is sought, IRZ had such a license.

                    18              The Court should grant summary judgment on the second cause of action for Breach of

                    19      Contract as it is undisputed that Debtor failed to perform under the contract. Therefore, under

                    20      Wasserburger v. Am. Sci. Chem., Inc., 267 Or. 77, 82 (1973) and Shelter Prods., Inc. v. Steelwood

                    21      Const., Inc., 257 Or. App. 382, 386 (2013), along with other authority, Defendants’ performance

                    22      is excused. Further, there was no breach of contract. The Trustee alleges a failure of Defendants

                    23      to perform on the contract regarding design and engineering work, but that Defendants never

                    24      agreed to perform that work and the work was in fact performed by Debtor and others.

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                             Pursuant to the Court’s April 24, 2025 Order [Dkt. #823] and the oral rulings made at the April 23, 2025 hearing,
                    27      Defendants hereby file this renewed motion to correct the docket control number used in its February 14, 2025
                            motion for summary judgment. Except for the docket control number, hearing date, and other caption info, the
                    28      motion and supporting exhibits are identical to Defendants’ February 14, 2025 motion for summary judgment.
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                                                                                    -2-                                    DEFENDANTS’ MOTION FOR
                                                                                                                               SUMMARY JUDGMENT

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                        1           The Court should grant summary judgment on the third cause of action for negligence as

                        2   under Jones v. Emerald Pac. Homes, Inc., 188 Or. App. 471, 478 (2003) and other authority,

                        3   Defendants did not have a duty of care as to Debtor. To the extent other contractors were

                        4   negligent, Defendants do not have a duty of care to guaranty their work under Yowell v. Gen. Tire

                        5   & Rubber Co., 260 Or. 319, 325 (1971) and other authorities. Finally, the underlying contracts

                        6   themselves limit liability on the negligence claim and those limitations are valid under the case of

                        7   Certain Underwriters at Lloyd's London v. TNA NA Mfg., Inc., 372 Or. 64, 72 (2024), along with

                        8   other authorities.

                        9           The Court should grant summary judgment on the fourth cause of action for fraudulent

                    10      transfer on the grounds that the issue is moot as, under 11 U.S.C. § 502(h), Defendants would

                    11      have a claim equal to the avoid liability limitations clauses Trustee seeks to avoid. This claim

                    12      would offset any damages incurred by the limitations of liability. Further, a fraudulent transfer

                    13      under ORS 95.240 and 95.230 requires that the Debtor be insolvent or become insolvent due to

                    14      the transfer. That did not occur here. The Debtor was solvent during the relevant time period.

                    15      Finally, a transfer is not avoidable under ORS 95.240 and 95.230 if for reasonably equivalent

                    16      value. The liability limitation clauses of issue were bargained for and a material part of the

                    17      contract, and thus constitute reasonably equivalent value under In re 3dfx Interactive, Inc., 389

                    18      B.R. 842, 865 (Bankr. N.D. Cal. 2008) and other authorities.

                    19              Finally, the Court should also grant summary judgment as to defendant Lindsay Corp. on

                    20      the alternative ground that Lindsay Corp.’s relationship to this matter is solely that it is the

                    21      ultimate (and not the direct) parent of IRZ. Under ORS 63.165(1), Lindsay Corp. is not liable for

                    22      the acts of its subsidiaries.

                    23              This motion is supported by the memorandum of points and authorities, the statement of

                    24      undisputed material facts, the declarations of Farahmand Ziari, Wayne Downey, And Benjamin P.

                    25      Tarczy, the request for judicial notice, the exhibit document, and the pleadings and papers filed in

                    26      this adversary proceeding and the underlying bankruptcy case.

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                                                                             -3-                                DEFENDANTS’ MOTION FOR
                                                                                                                    SUMMARY JUDGMENT

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                        1
                            Dated: April 25, 2025   MILLER NASH LLP
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                        4                           By: /s/ Kyle D. Schiuchetti
                                                       Kyle D. Sciuchetti, OSB No. 965705, admitted pro hac vice
                        5                              Bernard Kornberg, CSB No. 252006
                                                       Benjamin P. Tarczy, CSB No. 308367
                        6                              Hagop T. Bedoyan, CSB No. 13285
                        7                              Attorneys for IRZ Consulting, LLC and Lindsay Corporation
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                                                                  -4-                            DEFENDANTS’ MOTION FOR
                                                                                                     SUMMARY JUDGMENT

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